W. D. Haden Company, Petitioner, v. Commissioner of Internal Revenue, RespondentW. D. Haden Co. v. Comm'rDocket Nos. 76898, 78803United States Tax Court37 T.C. 512; 1961 U.S. Tax Ct. LEXIS 10; December 21, 1961, Filed *10 Decisions will be entered under Rule 50.  1. Petitioner was engaged in the mining of deposits of oystershell off the Texas gulf coast.  Petitioner sold part of the mineral mined to chemical companies which purchased the same for its high calcium carbonate content.  The commonly understood commercial name of the mineral was oystershell and not calcium carbonates. Held, that the rates of depletion applicable to all of petitioner's operations are the 5 percent rates provided for oystershells in section 114(b)(4)(A)(i) of the Internal Revenue Code of 1939 and in section 613(b)(5) of the Internal Revenue Code of 1954.2. Held, petitioner is not entitled to deduct as ordinary and necessary business expenses amounts paid to one of the two sons of the original founder of petitioner during certain of the taxable years where the individual rendered no actual services to petitioner.  Held, further, there was no covenant not to compete entered into by such individual with petitioner.  John G. Heard, Esq., for the petitioner.Harold A. Chamberlain, Esq., for the respondent.  Black, Judge.  BLACK *513 *11   Respondent determined deficiencies in petitioner's income tax as follows:Docket No.YearDeficiency1951$ 47,190.56195254,568.3576898195363,914.97195471,867.45195570,003.80195676,211.3778803195777,922.47Petitioner is claiming overpayments for the taxable years 1954 and 1955 in the *12  amounts of $ 4,650.17 and $ 4,400.59, respectively.The issues presented for our decision are:(1) Whether petitioner may claim depletion on part of its gross income from mining and selling deposits at the percentage rate applicable to calcium carbonates or at the percentage rate applicable to oystershells.(2) Whether the payments made by petitioner to Edgar Haden in the amounts of $ 9,600 for each of the years 1952 through 1955 and $ 6,900 for the year 1956 are deductible as ordinary and necessary business expenses.All other issues raised by the pleadings have been agreed to by the parties and the tax effect thereof will be computed pursuant to Rule 50.FINDINGS OF FACT.A stipulation of facts, to which certain exhibits are attached, was filed by the parties and is incorporated by this reference.Petitioner W. D. Haden Company, sometimes hereinafter called the Haden Company, incorporated under the laws of Texas with its principal office in Houston, Texas, filed Federal corporation tax returns on a calendar year basis for the taxable years 1951 through 1957 with the district director of internal revenue, Austin, Texas.Issue 1.During the taxable years 1951 to 1957, inclusive, *13  the Haden Company was in the business of mining prehistoric deposits located in Galveston Bay and Trinity Bay off the Texas gulf coast.The mineral mined and sold by the Haden Company was oystershell within the commonly understood commercial meaning of the term; oystershell is the specific name applicable to the mineral mined by petitioner.*514  The oystershell mined by petitioner during the taxable years 1951 through 1957 was composed of approximately 97 to 98 percent calcium carbonates. Calcium carbonates are found in the United States in commercial quantities in the forms of limestone, oystershell, and marl, oystershell being the purest commercial form of calcium carbonates.The oystershell was removed by petitioner by mechanical cutter from the bottom of the bays -- it was underneath a layer of mud.  It was lifted by suction pipe into barges where it was washed and screened while at sea.  After being so washed and screened, the oystershell was hauled on barges towed by tugs to shore where it was stockpiled; or in the case of sales to various chemical companies which purchased the oystershell for its calcium carbonate content, it was taken directly to the docks of the chemical*14  companies where it was sold at dockside.  While these deposits are sometimes called "reefs," in a geological sense such deposits are coquina, lightly cemented shell limestone and must be mined with a mechanical cutter containing blades, which is a part of an elaborate hydraulic dredge.  From these deposits the Haden Company mined and sold to both calcium carbonate users and to users of oystershell for roadbuilding, railroad ballast, etc.  Its technique of mining the oystershell for its calcium carbonate customers was slower than and different from that employed in producing oystershell for roadbuilding, railroad ballast, etc.The rate of speed of removal of the oystershell could be controlled by petitioner during the mining operation and petitioner regulated the speed of its rig from time to time so as to obtain a cleaner product for the users of its product as calcium carbonate. The nature of the mineral mined by petitioner remained the same, namely, oystershell, no matter at what rate of speed it was removed from the bays.Petitioner sold oystershell to the Lone Star Cement Corporation, Houston, Texas, hereinafter referred to as Lone Star, and to Dow Chemical Company, Freeport, *15 Texas, hereinafter referred to as Dow, during the taxable years 1951 through 1957.  In addition, petitioner sold oystershell to the Nyotex Chemical Company, hereinafter referred to as Nyotex, during the taxable years 1951 through 1956.  Lone Star, Dow, and Nyotex are sometimes herein referred to as the chemical companies.Lone Star purchased oystershell from petitioner as a source of calcium carbonate for use in the manufacture of cement.  Nyotex purchased oystershell from petitioner as a source of calcium carbonate for use in the production of high-calcium quicklime.  Dow purchased oystershell from petitioner as a source of calcium carbonate for use in the production of lime.*515  In the stipulation of facts, as Joint Exhibit 10-J, are photostatic copies of contracts between W. D. Haden Company and Lone Star Cement Company, signed February 18, 1946, and March 22, 1957.  Clause 1 of the contract dated February 18, 1946, reads as follows:1. Said Producer agrees to sell and deliver to said Purchaser * * * during the period aforesaid, and the Purchaser agrees to purchase under the terms hereof, all of the clean oyster shells said Purchaser may require * * *.  Said shells shall *16  be hydraulically dredged with sufficient water to reduce the foreign matter to approximately five percent (5%) * * *The contract dated March 22, 1957, and which became effective April 1, 1957, begins with the following statement:Whereas, W. D. Haden Co., a corporation with its principal office at Houston * * * has agreed to sell and deliver to the Lone Star Cement Corporation, * * * which Corporation is engaged in the manufacture of portland cement * * * from calcium carbonate in the form of oyster shells, all the calcium carbonate it may require in its process in the form of oyster shells during the life of this contract.  For purposes of clarification, the words "oyster shell", may be used in the wording of this agreement instead of the words "calcium carbonate".Then follows the agreement itself which it is not necessary to set out here.  It has already been made a part of these findings of fact by reference.Also in Exhibit 10-J is a photostatic copy of a contract between the Haden Company and Dow Chemical Company dated May 1, 1950.  This contract contains, among other things, these provisions:(2) Quantities to be Purchased* * * From time to time the BUYER needs certain*17  quantities of washed shell for the operation of its lime kiln or kilns * * * and certain other quantities of so-called "mud" or road shell for use in the various roads and building sites at its said plants.  BUYER, therefore, agrees to purchase and receive from SELLER, and SELLER agrees to sell and deliver to BUYER * * * not less than an average of 300 cubic yards per day * * * of shell (either washed or "mud" shell, or both, at the option of BUYER) * * *No contracts are in evidence between petitioner and Nyotex Chemical Company.Petitioner also mined and sold oystershell for use in building roads, as aggregate in concrete, as ballast, for use in chickenfeed, and for use in bone builders for cattle and other animals.Petitioner's gross income from property, subject to depletion in each taxable year, was reported using two designations and was as follows: *516 YearDesignated sourceGross income1951(a) Shell delivered for its calcium carbonate content$ 815,029.63(b) Shell delivered for other uses1,098,405.91Total gross income from property1,913,435.541952(a) Calcium carbonate (screened shell)753,811.41(b) Reef oystershell (dredge run)1,244,931.85Total gross income from property1,998,743.261953(a) Calcium carbonate (screened shell)769,958.32(b) Reef oystershell (dredge run)1,515,134.28Total gross income from property2,285,092.601954(a) As calcium carbonate802,739.66(b) Reef oystershell1,514,335.58Total gross income from property2,317,075.241955(a) As calcium carbonates760,945.86(b) As road material and concrete aggregate1,548,115.01Total gross income from property2,309,060.871956(a) Sale of shell as calcium carbonate779,218.57(b) Sale of shell as road material and concrete aggregate1,466,130.66Total gross income from property2,245,349.231957(a) Sale of shell as calcium carbonate760,697.27(b) Sale of shell as road material and concrete1,822,619.28Total Gross income from property2,583,316.55*18 Rate ofYearDesignated sourcedepletionclaimedPercent&nbsp;1951(a) Shell delivered for its calcium carbonate content10(b) Shell delivered for other uses5Total gross income from property1952(a) Calcium carbonate (screened shell)10(b) Reef oystershell (dredge run)5Total gross income from property1953(a) Calcium carbonate (screened shell)10(b) Reef oystershell (dredge run)5Total gross income from property1954(a) As calcium carbonate15(b) Reef oystershell5Total gross income from property1955(a) As calcium carbonates15(b) As road material and concrete aggregate5Total gross income from property1956(a) Sale of shell as calcium carbonate15(b) Sale of shell as road material and concrete aggregate5Total gross income from property1957(a) Sale of shell as calcium carbonate15(b) Sale of shell as road material and concrete5Total Gross income from propertyPetitioner claimed that its gross income from sales to Dow, Lone Star, and Nyotex entitled it to use the depletion rate applicable to calcium carbonates. As to its gross income derived from other sources, *19  petitioner claimed the 5 percent depletion rate applicable to oystershell. The dispute between the parties with respect to this issue is concerned only with the rate of depletion applicable to petitioner's sales of oystershell to Dow, Lone Star, and Nyotex.  The categories in the foregoing table labeled "Shell delivered for its Calcium Carbonate Content," "Calcium Carbonate (screened shell)," "As Calcium Carbonate," "As Calcium Carbonates," and "Sale of Shell as Calcium Carbonate," all refer to petitioner's gross income resulting from sales to Dow, Nyotex, and Lone Star.Issue 2.Edgar Haden, sometimes referred to as E. D. Haden or Ed Haden, began working for the Haden Company as an employee prior to 1917.  The Haden Company was founded by W. D. Haden, father of Edgar Haden and Cecil R. Haden.  The employee-employer relationship between petitioner and Edgar continued, with the exception of a year or two during World War I, until 1937 when Edgar resigned.*517  During the latter part of this employment, from about 1930 to 1937, Edgar was a sales executive for the Haden Company.In 1939, Edgar formed his own company, the Ed Haden Company, in competition with petitioner's retail*20  general building material business.  Edgar remained in business until a year or two after the commencement of World War II when he discontinued his activities.  Little was known of Edgar's business activities subsequent to that time.On January 8, 1952, petitioner's board of directors held a meeting in Galveston, Texas.  The minutes of the meeting are in part as follows:Mr. C. R. Haden presented a proposition to the Board that some arrangement be worked out to quiet the unrest occassioned [sic] by the nonemployment of his brother, Edgar D. Haden, as Mrs. Lucy L. Haden, a substantial stockholder of this Corporation, was very desirous of having her son Edgar employed in some capacity.  Motion was made by Mr. A. A. Horn appointing Mr. W. P. Hamblen, Cecil R. Haden and Edwin E. Lund as a committee to work out some arrangement that would serve this purpose.  Motion was seconded and carried.Lucy L. Haden was the wife of the founder of the Haden Company and mother of Edgar D. Haden and Cecil R. Haden.Petitioner entered into a written agreement to pay Edgar $ 800 a month on a month-to-month basis retroactive to January 1, 1952.  The agreement was executed by Cecil R. Haden as president*21  of the Haden Company and by E. D. Haden.  This agreement reads as follows:The Directors of the W. D. Haden Company have offered to employ Mr. Ed Haden as consultant at a salary of $ 800.00 per month, to be paid monthly at the will of the Directors and cancelable at any time upon giving ten (10) days notice prior to the end of the period of employment.  Employment shall begin as of January 1, 1952 and the services shall be paid for at the end of each month.It shall be particularly understood and agreed that the said Ed. Haden shall not hold himself out as a representative of the W. D. Haden Company in any manner and shall not make any sales or contracts on behalf of said company or undertake to bind said company in any manner whatsoever.The said Ed. Haden shall not have an office with the company or at any of the company's plants or material yards, but shall maintain such office as he cares to maintain at his own responsibility and without any indication that he is an employee of the said W. D. Haden Company.  The said Ed. Haden shall not visit the office of the company or any of its substations or auxiliary offices except when requested by the Board of Directors or by the President*22  of the company, it being distinctly understood that the said Ed. Haden shall perform no services for the company except that which he is requested to do by the Board of Directors, his services being entirely as a consultant and adviser and only when requested by the Board of Directors or by any officer of the company at the request of the Board of Directors. Should the said Ed. Haden violate any of these provisions, his employment shall terminate.This is a contract from month to month and may be terminated at any time by either party by giving the other party ten (10) days notice prior to the expiration of any one month.  This is in accordance with the action of the *518  Board of Directors of the company at a meeting held January 8, 1952, and the said Ed. Haden shall evidence his acceptance hereof by his signature on the left hand side of this page.W. D. Haden Company(s) Cecil R. HadenPresidentAccepted:(s) E. D. HadenEd. HadenPetitioner paid Edgar $ 9,600 per year in each of the taxable years 1952 through 1955.  In 1956, petitioner paid Edgar $ 800 per month through the month of June, after which payments were discontinued.  During the period, Edgar complied fully*23  with all the terms and provisions of the contract.On August 10, 1956, Edgar filed suit against the Haden Company in the District Court of Galveston County, Texas, seeking payment under the agreement for the months of July and August 1956, and seeking an additional amount of $ 500 for attorney's fees.  Edgar pleaded that no formal notice of termination of the agreement had been given until August 7, 1956.  On motion for summary judgment, judgment was entered against the Haden Company in the amount of $ 2,100 (2 months' salary, plus $ 500 attorney's fees).  Petitioner paid Edgar $ 6,900 in the taxable year 1956, which amount included the $ 2,100 paid under the judgment.  Edgar did not render to petitioner any services as consultant and adviser, or in any other capacity, during any of the taxable years here involved.  He was not called upon to do so by the board of directors or any officer of petitioner.Petitioner claimed deductions of $ 9,600 for each of the taxable years 1952 through 1955, and $ 6,900 for 1956, for the payments made to Edgar.  Respondent determined that the payments made to Edgar were not payments for services rendered and were not deductible by petitioner as ordinary*24  and necessary business expenses.OPINION.Issue 1.The first issue to be decided is whether the Haden Company may claim a depletion deduction on that part of its gross income derived from sales of oystershell to the chemical companies -- Dow, Lone Star, and Nyotex -- at the depletion rate applicable to calcium carbonates for the taxable years 1951 through 1957.  Other questions raised by the pleadings involving depletion have been agreed to by the parties and are no longer in issue.  Under the 1939 Code, as amended by section 319(a) of the Revenue Act of 1951, the rate *519  of depletion applicable to calcium carbonates was 10 percent and the rate applicable to oystershell was 5 percent.  1*26  Petitioner used the 10 percent figure in computing its depletion deduction for the years 1951, 1952, and 1953 as applied to its gross income from sales to Dow, Nyotex, and Lone Star.  Under the 1954 Code, the rate of depletion applicable to calcium carbonates is 15 percent and the rate for oystershell remains at 5 percent.  2 Petitioner again used the higher figure *520  when computing its depletion deduction for the years 1954, 1955, 1956, and 1957 on its gross income derived from*25  sales to Dow, Lone Star, and Nyotex.  As to its sales to all other purchasers, petitioner used the 5 percent figure for all the taxable years in question.  We are concerned here only with petitioner's application of the 10 and 15 percent rates to part of its gross income.*27  At the outset of the discussion of the issue involved, we think it is well that we point out that it is not our function to decide upon the reasonableness or the unreasonableness of any particular rate of depletion granted by the statute to various articles produced by mining, drilling, etc.  That is a matter for Congress to determine and not for us to decide.  Our duty is to determine the rates of depletion fixed by Congress in the applicable statute to any particular product and apply them as Congress has fixed them.  That we shall endeavor to do in the instant case.Petitioner has well established that the mineral it mined off the Texas gulf coast did have a very high calcium carbonate content, perhaps the purest commercial form of calcium carbonate found in the United States.  In order to apply the rate of depletion for calcium carbonates to part of its gross income, petitioner argues that it mined both calcium carbonates and oystershell from the Texas gulf bays from the same deposits but its method of mining oystershell sold for calcium carbonates was different from that sold for oystershell, hence it is entitled to the different rates of depletion which it claimed on its returns. *28  We cannot agree with this contention.  We think the law and the facts, when all are considered, are to the contrary.  We have carefully studied the evidence of record and have found that petitioner mined and sold but one mineral and that mineral was oystershell. Petitioner's showing that it mined the deposits at a slower rate of speed from time to time and thereby obtained a cleaner shell when it mined shells for sale to its chemical purchasers, Dow, Lone Star, and Nyotex, did not change the nature of the mineral. The mineral was oystershell before it was mined from the gulf and remained oystershell after it was loaded into petitioner's barges or when it was delivered to its purchasers. It undoubtedly made the oystershell thus *521  treated more usable as calcium carbonate but it still remained oystershell.When hearings were held on the Revenue Bill of 1950 by the Senate Finance Committee, W. P. Hamblin, director and attorney for the Haden Company, appeared before the committee.  His testimony is recorded on pages 703 to 706, inclusive, of the Hearings Before the Senate Finance Committee.  The House of Representatives had included in its bill, H.R. 8920, in section 204, oystershell, *29  which was then being mined in the Gulf of Mexico, at a depletion rate of 5 percent.  The chairman of the Finance Committee asked Hamblin this question:The Chairman.  Does this tax bill affect you?Mr. Hamblin.  We are trying to get a depletion allowance. We are allowed 5 percent under the bill.  * * *The Senate Finance Committee struck out the section of the bill which applied the various new depletion rates, including those for oystershell, and the Revenue Act of 1950, as it was finally enacted, did not include the new depletion rates.  See page 53 of the Finance Committee Report on the Revenue Act of 1950.  However, when the Revenue Act of 1951 was enacted, new depletion rates were included and oystershell was granted a depletion rate of 5 percent.  In the "Summary of the Provisions of the Revenue Act of 1951, as Agreed to by the Conferees," it is stated on page 31, as follows:Section 319 of the bill sets up a new group of minerals to which percentage depletion is available at the rate of 5 percent.  This rate is extended to the following substances none of which are presently entitled to percentage depletion: sand, gravel, slate, stone (including pumice and scoria), brick*30  and tile clay, shale, oyster shell, clam shell, granite, marble, sodium chloride, and, if from brine wells, calcium chloride, magnesium chloride, and bromine.  [Emphasis supplied.]Thus it is plain that a specific rate of 5 percent was granted to "oyster shell" as such.We think that it is well established that the names of the various minerals enumerated in the depletion sections of the 1939 Code, as amended, and in the 1954 Code, are intended to have their commonly understood commercial meaning and that in any case, where an item was specifically provided for at a stated rate of percentage allowance, the specific provisions would govern over the general classification.  Spencer Quarries, Inc., 27 T.C. 392"&gt;27 T.C. 392 (1956), and United States Pumice Supply Co., 36 T.C. 1160 (1961).We have found that the name of the deposits mined by petitioner was oystershell within the commonly understood commercial meaning of the term.  We do not think that the facts in the record would permit any other finding.  The term "oyster shell" is the specific name for *522  all the deposits mined by petitioner even though the more general term*31  calcium carbonates would also identify them.The testimony at the trial of the instant case was to the effect that the principal sources of commercial calcium carbonates were three: (1) Oystershell, (2) limestone, and (3) marl.  Paragraphs (i), (ii), and (iii) were added to section 114(b)(4)(A) of the 1939 Code by section 319(a) of the Revenue Act of 1951.  Oystershell is listed in paragraph (i) in the 5 per centum category and calcium carbonates in paragraph (ii) in the 10 per centum category.  The Senate Finance Committee stated in its report: "The names of all the various enumerated minerals are of course intended to have their commonly understood commercial meaning." 3*32  The Conference Report to the House further said:Under the conference agreement calcium carbonates are granted an allowance of 10 percent, while marble, which is a calcium carbonate, receives 5 percent.  It is intended, in any case where a mineral is specifically provided for at a stated rate of percentage allowance, that the specific provision will govern over the allowance provided (whether higher or lower) for a more general classification.  4In Virginian Limestone Corporation, 26 T.C. 553"&gt;26 T.C. 553 (1956), this legislative history was carefully analyzed and the principles announced therein were applied, and we apply them again to the instant case.  Oystershell is the specific name of the mineral which petitioner was mining within the commonly understood commercial meaning of the term.  Calcium carbonates is a more general term that can also be used to identify the mineral. See also Albin C. Halquist, 33 T.C. 304"&gt;33 T.C. 304 (1959), the second point in that case.In section 613(b)(5) of the 1954 Code, oystershells are included in the category molluskshells (including clamshells and oystershells) in the 5 percent listing.  The term calcium carbonates is found in paragraph (6) "15 percent -- all other minerals." It is obvious that the specific provision is molluskshells (including clamshells and oystershells) and we hold that the 5 percent depletion rate is applicable for the years 1954, 1955, 1956, and 1957.Petitioner's argument is, in effect*33  (although it disavows the end use is determinative), that the end use of the product mined controls the rate of depletion applicable.  The evidence as to the nature of the uses of the shells made by Dow, Nyotex, and Lone Star shows that these concerns were interested in the high calcium carbonate content of the oystershells purchased from petitioner.  However, the end-use test has been expressly rejected by this Court, Virginian *523 , and Spencer Quarries, Inc., supra.In the Virginian Limestone Corporation case we stated that:We find nothing in the applicable statute, or in its legislative history, which tends to show any intention of Congress that, where a mineral has therein been specifically provided for at a stated rate, such rate may be varied by the Commissioner in accordance with the end use to which the product is put by the taxpayer's customers.  An allowance for depletion has been recognized in our revenue laws since 1913, based on the theory that the extraction of minerals gradually exhausts the capital investment in the mineral deposit, and that a deduction from gross *34  income should be allowed to compensate for such exhaustion.  All of the revenue acts enacted prior to 1954, in which such allowance was provided, speak in terms of the wells, mines, and natural deposits which are subject to the exhaustion, as distinguished from the products therefrom or the uses to which such products may be put by customers.The provisions of the 1954 Code are substantially the same as section 114(b)(4)(A) of the 1939 Code, as amended, for purposes herein, and we apply the same principles announced in the Virginian Limestone Corporation and Spencer Quarries, Inc., cases.Petitioner cites Quartzite Stone Co., 30 T.C. 511"&gt;30 T.C. 511, affd.  273 F. 2d 738 (C.A. 10, 1959).  However, we think that in respect to the issue here involved the instant case more closely resembles South Jersey Sand Co., 30 T.C. 360"&gt;30 T.C. 360, affd.  267 F. 2d 591 (C.A. 3, 1959), and which is in accord with the result which we have reached herein.Petitioner herein alleges that the materials are either oystershells or calcium carbonates depending on what use is made of the mineral. This is the*35  type of end-use test we rejected in the Spencer Quarries and Virginian Limestone cases.  The recently decided case in the Ninth Circuit, Riddell v. California Portland Cement Co., 297 F. 2d 345 (C.A. 9, 1962), affirming in part the District Court of the Southern District of California, to which petitioner refers in an amended brief, also holds that it is sometimes necessary to apply an end-use test to help determine the common commercial nomenclature of the particular deposit. It was stated therein:To classify them solely by their end use is one thing -- to classify them by their commonly understood commercial meaning is another, even though the latter may be shaped and influenced, in some smaller or larger degree, by the end use.The Ninth Circuit cited with approval, among other cases, Virginian Limestone Corporation and Spencer Quarries, Inc., and held that the District Court could have properly concluded from the evidence of record that the name of the specific mineral was calcium carbonates in the commercial meaning commonly understood in the trade.In the instant case, even by taking into consideration the commercial uses*36  made of the shell sold to Dow, Nyotex, and Lone Star, we cannot find that the substance which petitioner was mining was calcium carbonates within the meaning of the depletion statute whenever sold *524  to Dow, Lone Star, and Nyotex, and whenever sold to others was oystershell. The argument that the materials were oystershell at one time and calcium carbonates when mined at a slower rate of speed and cleaned up is not impressive to us.  What governs is what was mined and not at what rate of speed it was mined.In the recent case of Lehigh Portland Cement Co. v. United States, 198 F. Supp. 877 (1961), the court, among other things, stated as follows:After these three defeats in the Tax Court, paragraph (b) of the Regulation, § 39.23(m)-5, was amended November 29, 1960, T.D. 6510, 1960-2 Cum. Bull. 458, to read:(b) For the purpose of identifying the minerals listed in paragraph (a) such minerals shall be given their commonly understood commercial meanings.  If a mineral of a taxpayer is within both a specific and a general mineral classification listed in paragraph (a), such mineral shall be considered*37  to fall within the more specific classification.  If the name of a mineral listed in paragraph (a) has no commonly understood commercial meaning but the name implies a particular use or uses, such mineral is to be defined in terms of such use or uses.  Certain of the minerals listed in paragraph (a) are defined below in accordance with the foregoing criteria set forth in this paragraph:* * * *Calcium carbonates -- Miscellaneous limestones and other calcium carbonate rocks (not specifically provided for at a 5 percent or 15 percent rate of percentage allowance) which are used or sold for use for purposes for which the calcium carbonate content is a major requirement.  For example, the term "calcium carbonates" includes limestone which is not of chemical or metallurgical grade and which is used or sold for use for cement manufacture or soil treatment.  However, the term "calcium carbonates" does not include any carbonate mineral which is identifiable as dolomite, marble, stone, oyster shells, or clam shells within the commonly understood commercial meaning of those terms.  [Emphasis supplied.]We think that the part of the amended regulation which is here applicable is the last*38  sentence quoted above which reads as follows:However, the term "calcium carbonates" does not include any carbonate mineral which is identifiable as dolomite, marble, stone, oyster shells, or clam shells within the commonly understood commercial meaning of those terms.In the Lehigh Portland Cement Co. case the United States District Court held that the product which the taxpayer was mining was chemical limestone within the meaning of the statute notwithstanding the amended regulation which defined chemical limestone as "Limestone which contains a calcium carbonate and magnesium carbonate content totaling 95 percent or higher by weight." The court held that the regulation as to its definition of chemical limestone was invalid, was beyond the power of the Commissioner to make, and, therefore, that part of the regulation was invalid.  The court, however, said *525  nothing about the part of the amended regulation which we have quoted above.  We see no reason to hold it invalid.  Certainly, if it is a valid interpretation of the statute, petitioner is only entitled to a depletion rate of 5 percent on all of its gross income from its mining operations, and not a depletion *39  rate of 10 percent under the 1939 Code, and 15 percent under the 1954 Code, on part of its gross income, as it claimed on its returns and still contends.We, therefore, hold that petitioner is only entitled to the 5 percent depletion rate for oystershell which the Commissioner has allowed.Issue 2.The second issue to be decided is whether the amounts paid by petitioner to Edgar are deductible as ordinary and necessary business expenses.  Petitioner relies upon section 23(a)(1)(A) of the 1939 Code for deduction of the amounts paid to Edgar prior to 1954.  That section reads as follows:In computing net income there shall be allowed as deductions:(a) Expenses.  -- (1) Trade or business expenses.  -- (A) In General.  -- All the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business, including services actually rendered; * * *Petitioner relies upon section 162(a)(1) of the 1954 Code for deduction of the amounts paid to Edgar in 1954, 1955, and 1956.  That section reads as follows:(a) In General.  -- There shall be allowed as a deduction all the ordinary and necessary expenses paid or incurred during the taxable *40  year in carrying on any trade or business, including -- (1) a reasonable allowance for salaries or other compensation for personal services actually rendered;After a careful study of the record, we are unable to see where Edgar rendered to petitioner any services.  While it is true that he was placed on the payroll and for several years was paid a monthly payment of considerable size, it was not to compensate him for any services that he had rendered to petitioner.  The so-called employment contract which was entered into by petitioner and Edgar provided that Edgar should: (1) Not hold himself out as a representative of petitioner, (2) not make sales for petitioner, (3) not make contracts for petitioner, (4) not have an office with petitioner, (5) not indicate he was employed by petitioner, (6) not visit petitioner's premises except if requested by the board of directors or by the president of the Haden Company, and (7) not perform any services for petitioner as consultant and adviser unless called upon to do so *526  by the board of directors. These, in our opinion, are all negative things and when the statute says that payments made for "services actually rendered" shall*41  be deductible as ordinary and necessary expenses, it means something done which is much more positive than what is stated above.It seems quite evident to us that Edgar was placed upon the payroll to satisfy his mother, the widow of W. D. Haden, founder of the business, and that it was never contemplated that he render any actual services of any kind to petitioner.  Therefore, we do not think that the amounts in question are allowable as deductions for ordinary and necessary business expenses under the respective statutes which we have quoted above.  We so hold.But petitioner argues that the amounts paid Edgar, if not deductible as payments made for services actually rendered to petitioner, are deductible as payments made to him not to compete. If any of the amounts paid to Edgar by petitioner were made to him because of any covenant not to compete, it seems reasonable to assume that some mention of this further element would be expressed in the agreement.  Edgar had not been active in business since the early years of World War II.  By 1952, the Haden Company was very well established in its field and it is difficult for us to see, in the absence of more compelling reasons, how*42  Edgar was a competitive threat to petitioner.  The written contract between petitioner and Edgar is silent as to matters of competition.  The minutes of the board of directors meeting held on January 8, 1952, give no indication that petitioner contemplated entering into an agreement to alleviate a threat of competition.  While the testimony of petitioner's president, Cecil R. Haden, is to the contrary, we find that the weight of the evidence supports the conclusion that petitioner and Edgar did not enter into an agreement wherein there was a promise not to compete. As a matter of contract law, naked covenants not to compete have been held unenforcible as against public policy but covenants limited in time and geographic area are enforcible.  The tax problems involving limited covenants not to compete usually result in connection with the sale of a business, and the tax questions are one of cost allocation.  In the present case, however, it is clearly apparent to us that there was no covenant not to compete.Therefore, we do not consider that we have any issue before us concerning any amounts paid to Edgar because of covenants not to compete.Decisions will be entered under Rule*43  50.  Footnotes1. SEC. 114.  BASIS FOR DEPRECIATION AND DEPLETION.(b) Basis for Depletion. -- (1) General rule.  -- The basis upon which depletion is to be allowed in respect of any property shall be the adjusted basis provided in section 113(b) for the purpose of determining the gain upon the sale or other disposition of such property, except as provided in paragraphs (2), (3), and (4) of this subsection.* * * *(4) Percentage depletion for coal and metal mines and for certain other mines and natural mineral deposits. -- (A) In General.  -- The allowance for depletion under section 23(m) in the case of the following mines and other natural deposits shall be --(i) in the case of sand, gravel, slate, stone (including pumice and scoria), brick and tile clay, shale, oyster shell, clam shell, granite, marble, sodium chloride, and, if from brine wells, calcium chloride, magnesium chloride, and bromine, 5 per centum,(ii) in the case of coal, asbestos, brucite, dolomite, magnesite, perlite, wollastonite, calcium carbonates, and magnesium carbonates, 10 per centum,(iii) in the case of metal mines, aplite, bauxite, flourspar, flake graphite, vermiculite, beryl, garnet, feldspar, mica, talc (including pyrophyllite), lepidolite, spodumene, barite, ball clay, sagger clay, china clay, phosphate rock, rock asphalt, trona, bentonite, gilsonite, thenardite, borax, fuller's earth, tripoli, refractory and fire clay, quartzite, diatomaceous earth, metallurgical grade limestone, chemical grade limestone, and potash, 15 per centum, * * *↩2. SEC. 613.  PERCENTAGE DEPLETION.(a) General Rule.  -- In the case of the mines, wells, and other natural deposits listed in subsection (b), the allowance for depletion under section 611 shall be the percentage, specified in subsection (b), of the gross income from the property excluding from such gross income an amount equal to any rents or royalties paid or incurred by the taxpayer in respect of the property.  Such allowance shall not exceed 50 percent of the taxpayer's taxable income from the property (computed without allowance for depletion).  In no case shall the allowance for depletion under section 611 be less than it would be if computed without reference to this section.(b) Percentage Depletion Rates.  -- The mines, wells, and other natural deposits, and the percentages, referred to in subsection (a) are as follows: (1) 27 1/2 percent -- oil and gas wells.(2) 23 percent -- (A) sulfur and uranium; and(B) if from deposits in the United States -- anorthosite (to the extent that alumina and aluminum compounds are extracted therefrom), asbestos, bauxite, beryl, celestite, chromite, corundum, fluorspar, graphite, ilmenite, kyanite, mica, olivine, quartz crystals (radio grade), rutile, block steatite, talc, and zircon, and ores of the following metals: antimony, bismuth, cadmium, cobalt, columbian, lead, lithium, manganese, mercury, nickel, platinum and platinum group metals, tantalum, thorium, tin, titanium, tungsten, vanadium, and zinc.(3) 15 percent -- ball clay, bentonite, china clay, sagger clay, metal mines (if paragraph (2)(B) does not apply), rock asphalt, and vermiculite.(4) 10 percent -- asbestos (if paragraph (2)(B) does not apply), brucite, coal, lignite, perlite, sodium chloride, and wollastonite.(5) 5 percent -- (A) brick and tile clay, gravel, mollusk shells (including clam shells and oyster shells), peat, pumice, sand, scoria, shale, and stone, except stone described in paragraph 6; and(B) if from brine wells -- bromine, calcium chloride, and magnesium chloride.(6) 15 percent -- all other minerals (including, but not limited to, aplite, barite, borax, calcium carbonates, refractory and fire clay, diatomaceous earth, dolomite, feldspar, fullers earth, garnet, gilsonite, granite, limestone, magnesite, magnesium, carbonates, marble, phosphate rock, potash, quartzite, slate, soapstone, stone (used or sold for use by the mine owner or operator as dimension stone or ornamental stone), thenardite, tripoli, trona, and (if paragraph (2)(B) does not apply) bauxite, beryl, flake graphite, fluorspar, lepidolite, mica, spodumene, and talc, including pyrophyllite), except that, unless sold on bid in direct competition with a bona fide bid to sell a mineral listed in paragraph (3), that the percentage shall be 5 percent for any such other mineral when used, or sold for use, by the mine owner or operator as rip rap, ballast, road material, rubble, concrete aggregates, or for similar purposes.  For purposes of this paragraph, the term "all other minerals" does not include -- (A) soil, sod, dirt, turf, water, or mosses; or(B) minerals from sea water, the air, or similar inexhaustible sources.↩3. S. Rept. No. 781, 82d Cong., 1st Sess., p. 38.↩4. H. Conf. Rept. No. 1213, 82d Cong., 1st Sess., p. 77.↩